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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Chasity Watkins
                                                 Plaintiff,
v.                                                            Case No.: 1:18−cv−01297
                                                              Honorable Thomas M. Durkin
VHS West Suburban Medical Center, Inc., et
al.
                                                 Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, November 13, 2018:


        MINUTE entry before the Honorable Thomas M. Durkin:Plaintiff's motion to
strike [34] is denied as moot. Defendants' motion to dismiss for lack of jurisdiction [16] is
denied as moot.Mailed notice(srn, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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